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                                             IN THE UNITED STATES DISTRICT COURT
                                            FOR THE WESTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION


                      THOMAS MICHAEL LOSS,
                                                                         U.S.D.C. CASE NO: 1:08-cv-874
                                    Plaintiff,
                                                                         HON. GORDON J. QUIST
                      vs.

                      JAMES R. DAVIS, MATTHEW
                      RHYNDRESS, and CITY OF
                      NORTON SHORES,

                                    Defendants.

                      _____________________________________/

                      R. Curtis Mabbitt (P24844)                         Michael S. Bogren (P34835)
                      Attorney for Plaintiff                             Attorney for Defendants
                      Halbower & Mabbitt                                 Plunkett Cooney
                      8 West Walton Avenue                               535 S. Burdick Street, Ste. 256
                      Muskegon, MI 49440                                 Kalamazoo, MI 49007
                      Telephone: (231)726-3720                           Telephone: (269) 226-8822

                      _____________________________________/

                              PLAINTIFF’S NOTICE OF TAKING DISCOVERY ONLY DEPOSITION OF
                                                 MATTHEW RHYNDRESS


                             PLEASE TAKE NOTICE that the deposition of the following witness will be taken on oral

                      examination before a Notary Public, for discovery purposes only pursuant to the Federal Rules

                      of Civil Procedure.


                                            WITNESS:      MATTHEW RHYNDRESS
HALBOWER
& MABBITT                                   DATE: FEBRUARY 27, 2009
ATTORNEYS AT LAW
    8 West Walton
 MUSKEGON, MI 49440                         TIME:         11:00 P.M.
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                      PLACE:         WILLIAMS, HUGHES & COOK
                                     120 WEST APPLE AVENUE
                                     MUSKEGON, MI 49440
                                     (231)728-1111


       You are at liberty to appear at the aforesaid time and place for the purpose of examining said

witness:



February 9, 2009                                    //s// R. Curtis Mabbitt
                                                    R. Curtis Mabbitt (P24844)
                                                    Attorney for Plaintiff
                                                    Halbower & Mabbitt
                                                    8 West Walton Avenue
                                                    Muskegon, MI 49440
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